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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


PAIGE VORARATH                                                              PLAINTIFF
o/b/o TYLER VORARATH


       v.                             CIVIL NO. 21-5001


ANDREW M. SAUL, Commissioner
Social Security Administration                                              DEFENDANT

                                            ORDER

       On January 4, 2021, Plaintiff filed a Complaint pursuant to 42 U.S.C. § 405(g) seeking

judicial review of a decision of the Commissioner of the Social Security Administration. (Doc.

2). Plaintiff filed a request for leave to proceed in forma pauperis (IFP) on January 5, 2021. (Doc.

3). After review, it is found that Plaintiff is unable to pay for the costs of commencement of suit

and, accordingly, the following order is entered this 5th day of January 2021:

       IT IS HEREBY ORDERED that Plaintiff's motion for leave to proceed in forma pauperis

is granted. The Court hereby directs that a copy of the complaint, along with a copy of this order,

be served by the Plaintiff by certified mail, return receipt requested, on the Defendant, Andrew M.

Saul, Commissioner, Social Security Administration, as well as, Jeff Rosen, Acting U.S. Attorney

General, and Candace Taylor, Assistant U.S. Attorney. The Defendant is ordered to answer within

sixty (60) days from the date of service.

       IT IS SO ORDERED.

                                             /s/ Erin L. Wiedemann
                                             HON. ERIN L. WIEDEMANN
                                             UNITED STATES MAGISTRATE JUDGE
